19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 1 of
                                        21



                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

   IN RE:                                        §                  CHAPTER 7
                                                 §
   LEGENDARY FIELD EXHIBITIONS,                  §            CASE NO. 19-50900-CAG
   LLC;                                          §
                                                 §
   AAF PLAYERS, LLC;                             §            CASE NO. 19-50902-CAG
                                                 §
   AAF PROPERTIES, LLC’                          §            CASE NO. 19-50903-CAG
                                                 §
   EBERSOL SPORTS MEDIA GROUP,                   §            CASE NO. 19-50904-CAG
   INCL;                                         §
                                                 §
   LFE 2, LLC;                                   §            CASE NO. 19-50905-CAG
                                                 §
   WE ARE REALTIME, LLC                          §            CASE NO. 19-50906-CAG
                                                 §
            Debtors.                             §       (SUBSTANTIVE CONSOLIDATION OF ALL 6
                                                         CASES, INTO ONE CASE, LEGENDARY FIELD
                                                 §       EXHIBITIONS, LLC, CASE NO. 19-50900-CAG)
                                                 §       SUBSTANTIVELY ADMINISTERED UNDER
                                                 §       CASE NO. 19-50900-CAG



                              CERTIFICATE OF NO OBJECTION
                                 (Related to Docket No. 588)

           THE UNDERSIGNED counsel for Swirl, Inc. (the “Movant”), hereby certifies that with

  regard to Swirl, Inc.’s Unopposed Motion for Relief from the Automatic Stay [Docket No. 588]

  (the “Motion”), it was not served with any responses, objections, or requests for hearing on or

  before the response date provided in the Motion of April 7, 2023, nor does the docket sheet

  maintained by the Clerk for the above-referenced bankruptcy case reflect that any objection,

  response, or request for hearing was filed on or before the response date provided. Accordingly,

  Movant respectfully requests that the Court treat the Motion as unopposed and enter the order

  uploaded concurrently with the filing of the Motion.




                                                 1
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 2 of
                                        21



  Dated: April 10, 2023.
                                              Respectfully submitted,

                                              HUSCH BLACKWELL LLP

                                              By: /s/ Amber L. Fly
                                                  Buffey E. Klein
                                                  State Bar No. 24032515
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                                                  Dallas, Texas 75201
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                                                  (214) 999-6170 (fax)
                                                  buffey.klein@huschblackwell.com

                                                     Amber L. Fly
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                                                     (512) 479-1101 (fax)

                                              COUNSEL FOR SWIRL INC.

                                 CERTIFICATE OF SERVICE

          I certify that on April 10, 2023, a true and correct copy of this document was served by
  electronic service on all counsel of record registered to receive notice via this Court’s CM/ECF
  system or United States first-class mail, as indicated below.

                                                       /s/ Amber L. Fly
                                                       Amber L. Fly



    100 South Ashley Property Owner,                       Stephen J. Humeniuk
    LLC                                                    Locke Lord LLP
    Locke Lord LLP                                         600 Congress Ave.
    600 Congress Avenue                                    Suite 2200
                                               represented
    Suite 2200                                             Austin, TX 78701
                                               by
    Austin, TX 78701                                       512-305-4838
    Added: 01/08/2020                                      512-305-4800 (fax)
    (Creditor)                                             stephen.humeniuk@lockelord.com
                                                           Assigned: 01/08/20




                                                 2
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 3 of
                                        21



    60 Soho Consulting, LLC                        Aaron Charles Smith
    Added: 07/25/2019                              Locke Lord LLP
    (Creditor)                                     111 South Wacker Drive
                                                   Suite 4200
                                       represented
                                                   Chicago, IL 60606
                                       by
                                                   312-443-0460
                                                   312-896-6460 (fax)
                                                   asmith@lockelord.com
                                                   Assigned: 07/25/19
    AAF Players, LLC                               William A. (Trey) Wood, III
    4525 Macro                                     Bracewell LLP
    San Antonio, TX 78218                          711 Louisiana, Suite 2300
    Tax ID / EIN: XX-XXXXXXX           represented Houston, TX 77002
    Added: 07/08/2019                  by          (713) 223-2300
    (Consolidated Debtor)                          (713) 221-1212 (fax)
                                                   trey.wood@bracewell.com
                                                   Assigned: 07/08/19
    AAF Properties, LLC                            William A. (Trey) Wood, III
    4525 Macro                                     Bracewell LLP
    San Antonio, TX 78218                          711 Louisiana, Suite 2300
    Tax ID / EIN: XX-XXXXXXX           represented Houston, TX 77002
    Added: 07/08/2019                  by          (713) 223-2300
    (Consolidated Debtor)                          (713) 221-1212 (fax)
                                                   trey.wood@bracewell.com
                                                   Assigned: 07/08/19
    Alpha Entertainment LLC                        Artoush Varshosaz
    1266 East Main Street                          K&L Gates LLP
    Stamford, CT 06902                             1717 Main Street
    Added: 06/26/2019                              Suite 2800
                                       represented
    (Interested Party)                             Dallas, TX 75201
                                       by
                                                   214-393-5600
                                                   214-939-5849 (fax)
                                                   artoush.varshosaz@klgates.com
                                                   Assigned: 06/26/19




                                         3
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 4 of
                                        21



    Anthem Blue Cross Life and Health
    Insurance Company
                                                         Eric S Goldstein
    c/o Shipman & Goodwin LLP
                                                         Shipman & Goodwin LLP
    One Constitution Plaza
                                                         One Constitution Plaza
    Hartford, CT 06103                       represented
                                                         Hartford, CT 06103
    860-251-5000                             by
                                                         860-251-5059
    860-251-5218 (fax)
                                                         egoldstein@goodwin.com
    egoldstein@goodwin.com
                                                         Assigned: 07/09/19
    Added: 07/09/2019
    (Creditor)
    Arizona Board of Regents, a body                     Robert M. Charles, Jr.
    corporate for and on behalf of Arizona               Lewis and Roca LLP
    State University                                     One South Church Avenue, Suite
    Added: 04/23/2019                                    2000
                                             represented
    (Creditor)                                           Tucson, AZ 85701
                                             by
                                                         520 629 4427
                                                         520 879 4705 (fax)
                                                         rcharles@lrrc.com
                                                         Assigned: 04/23/19
    Blue Cross of California d/b/a Anthem
    Blue Cross
                                                         Eric S Goldstein
    c/o Shipman & Goodwin LLP
                                                         Shipman & Goodwin LLP
    One Constitution Plaza
                                                         One Constitution Plaza
    Hartford, CT 06103                       represented
                                                         Hartford, CT 06103
    860-251-5000                             by
                                                         860-251-5059
    860-251-5218 (fax)
                                                         egoldstein@goodwin.com
    egoldstein@goodwin.com
                                                         Assigned: 07/09/19
    Added: 07/09/2019
    (Creditor)
    CBS Corporations, CSTV Networks,                     Yehudah L. Buchweitz
    Inc. d/b/a CBS Sports Network and                    WEIL, GOTSHAL & MANGES,
    Affiliates                                           LLP
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                                             represented
    (Interested Party)                                   New York, NY 10153
                                             by
                                                         212-310-8000
                                                         212-310-8007 (fax)
                                                         Yehudah.Buchweitz@weil.com
                                                         Assigned: 05/13/19




                                              4
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 5 of
                                        21



                                                   Alfredo R. Perez
                                                   Weil, Gotshal & Manges, LLP
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                                                   Houston, TX 77002
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                                                   713-224-9511 (fax)
                                                   alfredo.perez@weil.com
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    David Cohen
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                                                   Via United States first-class mail
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    Will Corbin
    3212 Eastover Ridge Dr., Apt. 738
    Charlotte, NC 28211
                                                   Via United States first-class mail
    (910) 709-8888
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    (Creditor)
    Delta Dental of California                      Katharine Battaia Clark
    Added: 07/31/2019                               Thompson Coburn LLP
    (Creditor)                                      2100 Ross Ave.
                                                    Ste 3200
                                        represented
                                                    Dallas, TX 75201
                                        by
                                                    972-629-7100
                                                    972-629-7171 (fax)
                                                    kclark@thompsoncoburn.com
                                                    Assigned: 07/31/19
                                                   Phillip Wang
                                                   RIMON, PC
                                                   One Embarcadero Center, Suite 400
                                                   San Francisco, CA 94111
                                                   (415) 968-2002
                                                   phillip.wang@rimonlaw.com
                                                   Assigned: 08/05/19




                                         5
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 6 of
                                        21



    Dilks & Knopik, LLC                            Sidney H. Scheinberg
    Added: 12/09/2022                              Godwin Bowman PC
    (Defendant)                                    1201 Elm St Suite 1700
                                       represented Dallas, TX 75270
                                       by          (214) 939-4501
                                                   (214) 527-3116 (fax)
                                                   Sscheinberg@godwinbowman.com,
                                                   Assigned: 12/09/22
    Thomas G. Dundon                               Brent D. Hockaday
    c/o Russell W. Mills                           Bell Nunnally Martin LLP
    Bell Nunnally & Martin LLP                     2323 Ross Avenue
    2323 Ross Avenue, Suite 1900       represented Suite 1900
    Dallas, TX 75201                   by          Dallas, TX 75201
    Added: 06/24/2019                              214-740-1400
    (Creditor)                                     bhockaday@bellnunnally.com
                                                   Assigned: 10/24/19
                                                  Russell W. Mills
                                                  Bell Nunnally & Martin
                                                  2323 Ross Ave.
                                                  Suite 1900
                                                  Dallas, TX 75201
                                                  214-740-1431
                                                  214-740-1499 (fax)
                                                  rmills@bellnunnally.com
                                                  Assigned: 06/24/19
    Dundon Capital Partners, LLC                   Brent D. Hockaday
    c/o Russell W. Mills                           Bell Nunnally Martin LLP
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    2323 Ross Avenue, Suite 1900       represented Suite 1900
    Dallas, TX 75201                   by          Dallas, TX 75201
    Added: 06/24/2019                              214-740-1400
    (Creditor)                                     bhockaday@bellnunnally.com
                                                   Assigned: 09/27/21
                                                  Russell W. Mills
                                                  Bell Nunnally & Martin
                                                  2323 Ross Ave.
                                                  Suite 1900
                                                  Dallas, TX 75201
                                                  214-740-1431
                                                  214-740-1499 (fax)
                                                  rmills@bellnunnally.com
                                                  Assigned: 06/24/19



                                         6
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 7 of
                                        21



    Charles Ebersol                                David S. Gragg
    Added: 07/08/2019                              Langley & Banack, Inc
    (Interested Party)                             Trinity Plaza II
                                                   745 E Mulberry, Suite 900
                                       represented
                                                   San Antonio, TX 78212
                                       by
                                                   (210) 736-6600
                                                   (210) 735-6889 (fax)
                                                   dgragg@langleybanack.com
                                                   Assigned: 07/08/19
                                                  William N Radford
                                                  Thompson, Coe, Cousins & Irons,
                                                  L.L.P.
                                                  700 N. Pearl Street
                                                  25th Floor
                                                  Dallas, TX 75201
                                                  214-871-8212
                                                  214-871-8209 (fax)
                                                  wradford@thompsoncoe.com
                                                  Assigned: 12/18/19
    Ebersol Sports Media Group, Inc.               William A. (Trey) Wood, III
    4525 Macro                                     Bracewell LLP
    San Antonio, TX 78218                          711 Louisiana, Suite 2300
    Tax ID / EIN: XX-XXXXXXX           represented Houston, TX 77002
    Added: 07/08/2019                  by          (713) 223-2300
    (Consolidated Debtor)                          (713) 221-1212 (fax)
                                                   trey.wood@bracewell.com
                                                   Assigned: 07/08/19
    Aaron Evans
    1429 E. Elm Rd.
    Lakeland, FL 33801
                                                  Via United States first-class mail
    (813) 428-3474
    Added: 01/05/2023
    (Creditor)
    Samantha Evans
    210 E Sonterra Blvd, #814
    San Antonio, TX 78258                         Via United States first-class mail
    Added: 09/30/2021
    (Creditor)




                                         7
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 8 of
                                        21



    FIRST Insurance Funding, a Division               Larry A. Levick
    of Lake Forest Bank & Trust                       Singer & Levick, PC
    Company, N.A.                                     16200 Addison Rd #140
    Added: 05/03/2019                     represented Addison, TX 75001-0001
    (Creditor)                            by          972-380-5533
                                                      972-380-5748 (fax)
                                                      levick@singerlevick.com
                                                      Assigned: 05/03/19
                                                     Daniel J. Zeller
                                                     Shapiro Sher Guinot & Sandler
                                                     250 West Pratt Street, Suite 2000
                                                     Baltimore, MD 21201
                                                     (410) 385-4273
                                                     Assigned: 05/28/19
    Five Marketing & Management, LLC
    1804 Garnet Ave., #545
    San Diego, CA 92109
                                                     Via United States first-class mail
    (949) 232-9000
    Added: 07/12/2022
    (Creditor)
    Cynthia Frelund                                   Stephen J. Humeniuk
    Added: 06/04/2019                                 Locke Lord LLP
    (Creditor)                                        600 Congress Ave.
                                                      Suite 2200
                                          represented
                                                      Austin, TX 78701
                                          by
                                                      512-305-4838
                                                      512-305-4800 (fax)
                                                      stephen.humeniuk@lockelord.com
                                                      Assigned: 06/04/19
                                                     Aaron C. Smith
                                                     Locke Lord LLP
                                                     111 South Wacker Drive
                                                     Chicago, IL 60606
                                                     312-443-0460
                                                     312-896-6460 (fax)
                                                     asmith@lockelord.com
                                                     Assigned: 06/05/19
    Garret Hudson
    1000 Maduro Court
    Zebulon, NC 27597
                                                     Via United States first-class mail
    (919) 889-8146
    Added: 12/14/2022
    (Creditor)

                                           8
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 9 of
                                        21



    IsoLynx, LLC                                   Wendi Alper-Pressman
    Added: 05/16/2019                              LATHROP GAGE LLP
    (Creditor)                                     7701 Forsyth Boulevard, #500
                                       represented St. Louis, MO 63105
                                       by          314-613-2826
                                                   314-613-2826 (fax)
                                                   wpressman@lathropgage.com
                                                   Assigned: 06/11/19
                                                   Raymond J. Urbanik
                                                   Lathrop Gage LLP
                                                   2101 Cedar Springs Road
                                                   Suite 1400
                                                   Dallas, TX 75201
                                                   4699836032
                                                   4699836101 (fax)
                                                   rurbanik@lathropgage.com
                                                   Assigned: 05/16/19
    Kaiser Foundation Health Plan                  Julie Mitchell Koenig
    P.O. Box23250                                  Cooper & Scully
    San Diego, CA 92193-3250                       815 Walker St
    Added: 08/01/2019                  represented Suite 1040
    (Creditor)                         by          Houston, TX 77002
                                                   713-236-6800
                                                   julie.koenig@cooperscully.com
                                                   Assigned: 08/01/19
    LFE 2, LLC                                     William A. (Trey) Wood, III
    4525 Macro                                     Bracewell LLP
    San Antonio, TX 78218                          711 Louisiana, Suite 2300
    Tax ID / EIN: XX-XXXXXXX           represented Houston, TX 77002
    Added: 07/08/2019                  by          (713) 223-2300
    (Consolidated Debtor)                          (713) 221-1212 (fax)
                                                   trey.wood@bracewell.com
                                                   Assigned: 07/08/19
    LMREC III CLO I REO I, INC.                    Heather J. Panko
    Added: 05/15/2019                              Stutzman, Bromberg, Esserman &
    (Creditor)                                     Plifka, P.C.
                                                   2323 Bryan Street, Suite 2200
                                       represented
                                                   Dallas, TX 75201
                                       by
                                                   214-969-4900
                                                   214-969-4999 (fax)
                                                   panko@sbep-law.com
                                                   Assigned: 05/15/19



                                         9
  HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 10
                                      of 21



   Landmark American Insurance                    Tony L Draper
   Company                                        Walker Wilcox Matousek, LLP
   Added: 01/28/2020                              1001 McKinney, Suite 2000
                                      represented
   (Interested Party)                             Houston, TX 77002
                                      by
                                                  713-343-6556
                                                  tdraper@wwmlawyers.com
                                                  Assigned: 01/28/20
   Legendary Field Exhibitions, LLC               William A. (Trey) Wood, III
   4525 Macro                                     Bracewell LLP
   San Antonio, TX 78218                          711 Louisiana, Suite 2300
   Tax ID / EIN: XX-XXXXXXX           represented Houston, TX 77002
   Added: 04/17/2019                  by          (713) 223-2300
   (Debtor)                                       (713) 221-1212 (fax)
                                                  trey.wood@bracewell.com
                                                  Assigned: 04/17/19
   Devin Lucien
   11243 Sheldon Street
   Sun Valley, CA 91352
                                                  Via United States first-class mail
   (747) 261-8449
   Added: 12/14/2022
   (Creditor)
   Major League Football, Inc.                    James A. Hoffman
   c/o James A. Hoffman                           Langley & Banack, Inc.
   Langley & Banack, Inc.                         745 E. Mulberry Avenue
   745 E. Mulberry Avenue             represented San Antonio, TX 78212
   Ste. 700                           by          (210) 736-6600
   San Antonio, Tx 78212                          (210) 735-6889 (fax)
   Added: 06/10/2019                              jhoffman@langleybanack.com
   (Interested Party)                             Assigned: 06/10/19
   Majormedia, Inc.
   Added: 01/22/2020
                                                  Via United States first-class mail
   (Defendant)
   PRO SE
   Richard Muirbrook                              Aaron J. Power
   Added: 05/30/2019                              Porter Hedges LLP
   (Creditor)                                     1000 Main Street 36th Floor
                                      represented Houston, TX 77002
                                      by          713-226-6631
                                                  713-226-6231 (fax)
                                                  apower@porterhedges.com
                                                  Assigned: 05/30/19



                                       10
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 11
                                      of 21



   NCM Wireless, Inc.                             Melissa A. Haselden
   Added: 06/10/2019                              Hoover Slovacek, LLP
   (Interested Party)                             Galleria Tower II
                                                  5051 Westheimer, Suite 1200
                                      represented
                                                  Houston, TX 77057
                                      by
                                                  713.977.8686
                                                  713.977.5395 (fax)
                                                  Haselden@hooverslovacek.com
                                                  Assigned: 06/10/19
                                                 William L. Niro
                                                 ARONBERG GOLDGEHN
                                                 DAVIS & GARMISA
                                                 330 North Wabash, #1700
                                                 Chicago, IL 60611
                                                 312-828-9600
                                                 312-828-9635 (fax)
                                                 wniro@agdglaw.com
                                                 Assigned: 06/13/19
   Nerdmatics
   c/o Fred Carlton
   1613 Chelsea Road, #808
   San Marino, CA 91108                          Via United States first-class mail
   626-269-8438
   Added: 06/22/2021
   (Creditor)
   Reggie Northup
                                                  Katharine Battaia Clark
   Jonathon Farahi
                                                  Thompson Coburn LLP
   Abir Cohen Treyzon Salo LLP
                                                  2100 Ross Ave.
   16001 Ventura Blvd., Suite 200
                                                  Ste 3200
   Encino, CA 91436                   represented
                                                  Dallas, TX 75201
   (424) 288-4367                     by
                                                  972-629-7100
   (424) 288-4368 (fax)
                                                  972-629-7171 (fax)
   jfarahi@actslaw.com
                                                  kclark@thompsoncoburn.com
   Added: 07/16/2019
                                                  Assigned: 10/18/19
   (Creditor)
                                                 Jonathon S. Farahi
                                                 Abir Cohen Treyzon Sala, LLP
                                                 16001 Ventura Blvd., Suite 200
                                                 Encino, CA 91436
                                                 424-288-4367
                                                 424-2288-4368 (fax)
                                                 JFarahi@actslaw.com
                                                 Assigned: 07/16/19


                                       11
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 12
                                      of 21



                                                  Boris Treyzon
                                                  Abir Cohen Treyzon Salo LLP
                                                  16001 Ventura Blvd.
                                                  Suite 200
                                                  Encino, CA 91436
                                                  424-288-4367
                                                  424-288-4368 (fax)
                                                  btreyzon@actslaw.com
                                                  Assigned: 08/02/19
   Shaun O'Hara                                   Aaron Charles Smith
   Added: 07/25/2019                              Locke Lord LLP
   (Creditor)                                     111 South Wacker Drive
                                                  Suite 4200
                                      represented
                                                  Chicago, IL 60606
                                      by
                                                  312-443-0460
                                                  312-896-6460 (fax)
                                                  asmith@lockelord.com
                                                  Assigned: 07/25/19
   OUTFRONT Media, LLC                            Claudio E. Iannitelli
   Added: 03/02/2021                              Iannitelli Marcolini, P.C.
   (Creditor)                                     5353 North 16th Str, #315
                                      represented
                                                  Phoenix, AZ 85016
                                      by
                                                  602-952-6000
                                                  602-952-7020 (fax)
                                                  Assigned: 03/02/21
   Randolph N Osherow                             John Atkins
   342 W Woodlawn, Suite 100                      Thompson Coburn LLP
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   (210) 738-3001                     represented Dallas, TX 75201
   rosherow@hotmail.com               by          (972) 629-7100
   Added: 04/17/2019                              (972) 629-7171 (fax)
   (Trustee)                                      jatkins@thompsoncoburn.com
                                                  Assigned: 04/01/22
                                                  Katharine Battaia Clark
                                                  Thompson Coburn LLP
                                                  2100 Ross Ave, Suite 3200
                                                  Dallas, TX 75201
                                                  (972) 629-7100
                                                  (972) 629-7171 (fax)
                                                  kclark@thompsoncoburn.com
                                                  Assigned: 04/01/22




                                       12
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 13
                                      of 21



                                                Abbey Ulsh Dreher
                                                Barrett Daffin Frappier Turner &
                                                Engel, LLP
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                                                Suite 100
                                                Addison, TX 75001
                                                972-341-0560
                                                wdecf@BDFGROUP.com
                                                Assigned: 02/23/21
                                                Brian S. Engel
                                                Barrett Daffin Frappier Turner &
                                                Engel
                                                3809 Juniper Trace, Suite 205
                                                Austin, TX 78738
                                                512-687-2500
                                                512-477-1112 (fax)
                                                brianen@bdfgroup.com
                                                Assigned: 06/28/19
                                                Jonathan Farahi
                                                Abir Cohen Treyzon & Salo, LLP
                                                16001 Ventura Blvd, Suite 200
                                                Encino, CA 91436
                                                (424) 288-4368
                                                jfarahi@actslaw.com
                                                Assigned: 04/01/22
                                                Kell C. Mercer
                                                Kell C. Mercer, P.C.
                                                901 S MoPac Expy, Bldg 1, Suite
                                                300
                                                Austin, TX 78746
                                                512-627-3512
                                                512-597-0767 (fax)
                                                kell.mercer@mercer-law-pc.com
                                                Assigned: 06/05/19
                                                Randolph N Osherow
                                                342 W Woodlawn, Suite 100
                                                San Antonio, TX 78212
                                                (210) 738-3001
                                                rosherow@hotmail.com
                                                Assigned: 05/01/19




                                       13
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 14
                                      of 21



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                                                Encino, CA 91436
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                                                btreyzon@actslaw.com
                                                Assigned: 04/01/22
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                                                Nicole Williams
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                                                Assigned: 04/01/22
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                                                Houston, TX 77007
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   Robert Parker
   2503 Ridgewind Way
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   Gionni Paul
   201 Madalyn CT
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                                                Via United States first-class mail
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                                       14
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 15
                                      of 21



   Pavilion Management Company
   c/o Glast, Phillips & Murray, P.C.               Jonathan L. Howell
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   Dallas, TX 75254                     represented Suite 806
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   (972) 419-8329 (fax)                             (214) 525-3941
   jhowell@gpm-law.com                              jonathan@jlhowell.com
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   Alexandria, VA 22315
                                                    Via United States first-class mail
   (571) 319-1149
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   Janet Rakowitz
   WYSI WYG Consulting
   11024 Macaway, #2
                                                    Via United States first-class mail
   Adkins, TX 78101
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   (Interested Party)
   Trent Richardson
                                                    Jonathon S. Farahi
   Abir Cohen Treyzon Salo LLP
                                                    Abir Cohen Treyzon Sala, LLP
   16001 Ventura Blvd.
                                                    16001 Ventura Blvd., Suite 200
   Suite 200
                                        represented Encino, CA 91436
   Encino, CA 91436
                                        by          424-288-4367
   (424) 288-4367
                                                    424-2288-4368 (fax)
   (424) 288-4368 (fax)
                                                    JFarahi@actslaw.com
   Added: 12/01/2022
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   (402) 990-9521
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   (Creditor)




                                         15
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 16
                                      of 21



   Colton Schmidt
                                                     Katharine Battaia Clark
   c/o Jonathon Farahi
                                                     Thompson Coburn LLP
   Abir Cohen Treyzon Salo LLP
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   16001 Ventura Blvd, Suite 200
                                                     Ste 3200
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                                                     972-629-7171 (fax)
   jfarahi@actslaw.com
                                                     kclark@thompsoncoburn.com
   Added: 07/16/2019
                                                     Assigned: 10/18/19
   (Creditor)
                                                    Jonathon S. Farahi
                                                    Abir Cohen Treyzon Sala, LLP
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                                                    424-2288-4368 (fax)
                                                    JFarahi@actslaw.com
                                                    Assigned: 07/16/19
                                                    Boris Treyzon
                                                    Abir Cohen Treyzon Salo LLP
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                                                    Encino, CA 91436
                                                    424-288-4367
                                                    424-288-4368 (fax)
                                                    btreyzon@actslaw.com
                                                    Assigned: 08/02/19
   Security Industry Specialists, Inc.               Wayne R Terry
   c/o Hemar, Rousso & Heald LLP                     Hemar, Rousso & Heald LLP
   15910 Ventura Blvd., 12th Floor                   15910 Ventura Blvd.
   Encino, CA 91436                                  12th Floor
                                         represented
   8185013800                                        Encino, CA 91436
                                         by
   8185012985 (fax)                                  818-501-3800
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                                          16
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 17
                                      of 21



   Settlement Class                               Katharine Battaia Clark
   Added: 05/31/2022                              Thompson Coburn LLP
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                                                  972-629-7100
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                                                  Assigned: 05/31/22
   Silicon Valley Bank                            Jennifer Francine Wertz
   c/o Jennifer F. Wertz                          Jackson Walker, L.L.P.
   Jackson Walker LLP                             100 Congress Avenue
   100 Congress Avenue                            Suite 1100
                                      represented
   Suite 1100                                     Austin, TX 78701
                                      by
   Austin, TX 78701                               512-236-2247
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   Callahan, FL 32011
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   (Creditor)
   Alan Snyder
   5100 John D. Ryan, Blvd. #2314
   San Antonio, TX 78245                         Via United States first-class mail
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                                                 Via United States first-class mail
   (440) 541-9131
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   (Creditor)
   Frank L. Sughrue
   5118 Barth Road
   Lockhart, TX 78644                            Via United States first-class mail
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   (Interested Party)




                                       17
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 18
                                      of 21



   R. Adam Swick
   REID COLLINS & TSAI, LLP
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   Austin, TX 78746
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   512-647-6110 (fax)
   aswick@rctlegal.com
   Added: 03/16/2020
   (Interested Party)
   TRT Development Company - San
   Antonio
   TRT Development Company - San
                                                  Kristen Ann Miller Reinsch
   Antonio
                                                  TRT Holdings, Inc.
   4001 Maple Avenue
                                                  4001 Maple Avenue
   Suite 600
                                      represented Suite 600
   Dallas, TX 75219
                                      by          Dallas, TX 75219
   214-283-8607
                                                  214-283-8607
   214-283-8514 (fax)
                                                  kristen.reinsch@trtholdings.com
   kristen.reinsch@trtholdings.com
                                                  Assigned: 05/24/19
   Tax ID / EIN: XX-XXXXXXX
   Added: 05/24/2019
   (Creditor)
   Devin Taylor
   46637 Merion Circle
   Northville, MI 48168
                                                  Via United States first-class mail
   (843) 812-6849
   Added: 11/15/2022
   (Creditor)
   Tecovas, Inc.
   Added: 01/22/2020
                                                  Via United States first-class mail
   (Defendant)
   PRO SE
   Sione Teuhema
   1117 Forrest Dr.
   Arlington, TX 76012
                                                  Via United States first-class mail
   (817) 909-1295
   Added: 01/05/2023
   (Creditor)




                                       18
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 19
                                      of 21



   Texas Comptroller of Public Accounts               Courtney J. Hull
   Courtney J. Hull                                   Texas Comptroller of Public
   c/o Sherri K. Simpson, Paralegal                   Accounts
   P.O. Box 12548                                     PO Box 12548
                                          represented
   Austin, TX 78711-2548                              Austin, TX 78711-2548
                                          by
   Added: 07/15/2019                                  512-475-4562
   (Creditor)                                         512-936-1409 (fax)
                                                      bk-chull@oag.texas.gov
                                                      Assigned: 07/15/19
   Three Sisters Partnership                          Russell William Savory
   100 Peabody Place                                  Beard & Savory, PLLC
   Suite 1400                                         119 South Main Street
   Memphis, TN 38103                                  Suite 500
                                          represented
   Added: 04/22/2019                                  Memphis, TN 38103
                                          by
   (Creditor)                                         901-523-1110
                                                      901-523-1139 (fax)
                                                      Russ@bsavory.com
                                                      Assigned: 04/22/19
   United States Trustee - SA12
   US Trustee's Office
   615 E Houston, Suite 533
   San Antonio, TX 78295-1539
                                                      Via United States first-class mail
   (210) 472-4640
   USTPRegion07.SN.ECF@usdoj.gov
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   (U.S. Trustee)
   Robert Vanech                                      James Henry Bartolomei, III
   Added: 06/03/2019                                  Duncan Firm, PA
   (Creditor)                                         900 S. Shackleford, Ste. 725
                                          represented Little Rock, AR 72211
                                          by          501-228-7600
                                                      501-228-0415 (fax)
                                                      jim@duncanfirm.com
                                                      Assigned: 06/03/19




                                           19
 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 20
                                      of 21



   Thomas A. Veit
   c/o Stephen A. Roberts
                                                        Stephen A. Roberts
   Clark Hill Strasburger
                                                        Stephen A Roberts, P.C.
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                                                        1400 Marshall Ln
   Austin, TX 78701                         represented
                                                        Austin, TX 78703
   512-499-3624                             by
                                                        512-431-7337
   512-499-3660 (fax)
                                                        sroberts@srobertslawfirm.com
   stephen.roberts@clarkhillstrasburger.com
                                                        Assigned: 07/29/19
   Added: 07/29/2019
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   We Are Realtime, LLC                                William A. (Trey) Wood, III
   4525 Macro                                          Bracewell LLP
   San Antonio, TX 78218                               711 Louisiana, Suite 2300
   Tax ID / EIN: XX-XXXXXXX                represented Houston, TX 77002
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   (Consolidated Debtor)                               (713) 221-1212 (fax)
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                                                       Assigned: 07/08/19
   Jamichael Winston
   1601 Princess Helen Rd., W
   Mobile, AL 36618
                                                       Via United States first-class mail
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 HB: 4884-3004-0924.1
19-50900-cag Doc#592 Filed 04/10/23 Entered 04/10/23 16:34:37 Main Document Pg 21
                                      of 21



   Charles Dylan Wynn
   460 McCall Drive
   Benicia, CA 94510
                                                  Via United States first-class mail
   (925) 478-9045
   Added: 02/22/2023
   (Creditor)
   Zachry Hospitality LLC
   c/o Roderick J. Regan
                                                  Rod Joseph Regan
   11118 Wurzbach #101
                                                  Regan Law Firm
   San Antonio, TX 78230
                                                  13423 Blanco Road #533
   United States                      represented
                                                  San Antonio, TX 78216
   2109635900                         by
                                                  210-387-9747
   2109635905 (fax)
                                                  Rod@RodRegan.com
   rod@rodregan.com
                                                  Assigned: 06/18/19
   Added: 06/18/2019
   (Creditor)
   eClinicalWorks LLC                             Jay L. Krystinik
   Added: 05/07/2019                              Reed Smith LLP
   (Creditor)                                     2850 N Harwood Street
                                      represented Ste 1500
                                      by          Dallas, TX 75201
                                                  469-680-4200
                                                  jkrystinik@reedsmith.com
                                                  Assigned: 05/07/19




                                       21
 HB: 4884-3004-0924.1
